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       CENTER FOR DISABILITY ACCESS
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8
                               UNITED STATES DISTRICT COURT
9
                              NORTHERN DISTRICT OF CALIFORNIA
10
11
         Samuel Love,                            Case No.
12
                 Plaintiff,
13
           v.                                    Complaint For Damages And
                                                 Injunctive Relief For
14
         HHR Powell Street, L.P., a              Violations Of: Americans With
         Delaware Limited Partnership;           Disabilities Act; Unruh Civil
15
         HST Powell LLC, a Delaware              Rights Act
16       Limited Liability Company;
17              Defendants,
18
19
20         Plaintiff Samuel Love complains of HHR Powell Street, L.P., a Delaware
21   Limited Partnership; HST Powell LLC, a Delaware Limited Liability Company
22   (“Defendants”), and alleges as follows:
23
24     PARTIES:
25     1. Plaintiff is a California resident with physical disabilities. He is
26   substantially limited in his ability to walk. He is a paraplegic. He uses a
27   wheelchair for mobility.
28     2. Defendant HHR Powell Street, L.P, a Delaware Limited Partnership


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1    owns the Axiom Hotel located at 28 Cyril Magnin St., San Francisco,
2    California, currently and at all times relevant to this complaint. Defendant
3    HST Powell LLC, a Delaware Limited Liability Company operates the Hotel
4    currently and at all times relevant to this complaint.
5      3. Plaintiff does not know the true names of Defendants, their business
6    capacities, their ownership connection to the property and business, or their
7    relative responsibilities in causing the access violations herein complained of,
8    and alleges a joint venture and common enterprise by all such Defendants.
9    Plaintiff is informed and believes that each of the Defendants herein, is
10   responsible in some capacity for the events herein alleged, or is a necessary
11   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
12   the true names, capacities, connections, and responsibilities of other
13   Defendants are ascertained.
14
15     JURISDICTION:
16     4. The Court has subject matter jurisdiction over the action pursuant to 28
17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19     5. Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising from the same nucleus of operative facts and arising out of
21   the same transactions, is also brought under California’s Unruh Civil Rights
22   Act, which act expressly incorporates the Americans with Disabilities Act.
23     6. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24   founded on the fact that the real property which is the subject of this action is
25   located in this district and that Plaintiff's cause of action arose in this district.
26
27   PRELIMINARY STATEMENT
28     7. This is a lawsuit challenging the reservation policies and practices of a


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1    place of lodging. Plaintiff does not know if any physical or architectural
2    barriers exist at the hotel and, therefore, is not claiming that that the hotel has
3    violated any construction-related accessibility standard. Instead, this is about
4    the lack of information provided on the hotel’s reservation website that would
5    permit plaintiff to determine if there are rooms that would work for him.
6      8. After decades of research and findings, Congress found that there was
7    a “serious and pervasive social problem” in America: the “discriminatory
8    effects” of communication barriers to persons with disability. The data was
9    clear and embarrassing. Persons with disabilities were unable to “fully
10   participate in all aspects of society,” occupying “an inferior status in our
11   society,” often for no other reason than businesses, including hotels and
12   motels, failed to provide information to disabled travelers. Thus, Congress
13   decided “to invoke the sweep of congressional authority” and issue a “national
14   mandate for the elimination of discrimination against individuals with
15   disabilities,” and to finally ensure that persons with disabilities have “equality
16   of opportunity, full participation, independent living” and self-sufficiency.
17     9. As part of that effort, Congress passed detailed and comprehensive
18   regulations about the design of hotels and motels. But, as importantly,
19   Congress recognized that the physical accessibility of a hotel or motel means
20   little if the 61 million adults living in America with disabilities are unable to
21   determine which hotels/motels are accessible and to reserve them. Thus,
22   there is a legal mandate to provide a certain level of information to disabled
23   travelers.
24     10. But despite the rules and regulations regarding reservation procedures,
25   a 2019 industry article noted that: “the hospitality sector has largely
26   overlooked the importance of promoting accessible features to travelers.”
27     11. These issues are of paramount important. Persons with severe
28   disabilities have modified their own residences to accommodate their unique


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1    needs and to ameliorate their physical limitations. But persons with disabilities
2    are never more vulnerable than when leaving their own residences and having
3    to travel and stay at unknown places of lodging. They must be able to ascertain
4    whether those places work for them.
5
6      FACTUAL ALLEGATIONS:
7      12. Plaintiff planned on making a trip in February of 2021 to the San
8    Francisco, California, area.
9      13. He chose the Axiom Hotel located at 28 Cyril Magnin St., San Francisco,
10   California because this hotel was at a desirable price and location.
11     14. Plaintiff needs an accessible guestroom. He needs clearance around
12   beds, he needs accessible restroom facilities including accessible sinks,
13   accessible tubs or showers and accessible toilets. He needs sufficient
14   maneuvering clearance in and around the guestroom. He needs accessories to
15   be located within an accessible reach range. In short, he benefits from and
16   needs compliant accessible guestroom features.
17     15. Plaintiff   went   to    the   Axiom   Hotel    reservation   website    at
18   https://www.axiomhotel.com seeking to book an accessible room at the
19   location on October 6, 2020.
20     16. Plaintiff found that there was little information about the accessibility
21   of the rooms. For example, under the “ADA Accessibility” tab, it mentions
22   features such as: “Hotel Entrance”, “Registration Desk”, “Common Areas”,
23   “Parking (Valet Only)”, “Turn Café”, and “Fitness Room.” These are vague
24   and conclusory statements. Likewise, under the “ADA Mono” & “Meta Queen
25   or King” room descriptions it mentions features such as: “Lowered closet
26   shelves”, “Lowered thermostat and light switches”, “Lowered entryway
27   features, including peephole & door latch”, “Lowered bathroom features, door
28   handle, towel hooks & towel rack”, “Wide bathroom entry”, “Bathroom grab


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1    bars”, “Raised toilet seat”, and “Roll-in-shower”. These vague and conclusory
2    statements offer little detail. For example, there is no specific information on
3    whether the desk/table in the room is accessible, if the or if the sink is
4    accessible, or if the room has accessible clear floor space.
5      17. The defendant’s reservation system failed to identify and describe the
6    accessible features in the guestroom chosen by the plaintiff in enough detail to
7    reasonably permit him to assess independently whether the particular
8    guestroom met his accessibility needs. The photos that accompany those
9    rooms do not show any accessible features.
10     18. This lack of information created difficulty for the plaintiff and the idea
11   of trying to book this room -- essentially ignorant about its accessibility --
12   caused discomfort for the Plaintiff.
13     19. Plaintiff would like to patronize this hotel but is deterred from doing so
14   because of the lack of detailed information through the hotel’s reservation
15   system. Plaintiff not only travels frequently but is always on the lookout for
16   businesses that violate the law and discriminate against him and other persons
17   with disabilities, intending to have them comply with the law and pay statutory
18   penalties.
19
20   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
21   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
22   Defendants.) (42 U.S.C. section 12101, et seq.)
23     20. Plaintiff re-pleads and incorporates by reference, as if fully set forth
24   again herein, the allegations contained in all prior paragraphs of this
25   complaint.
26     21. Under the ADA, it is an act of discrimination to fail to make reasonable
27   modifications in policies, practices, or procedures when such modifications
28   are necessary to afford goods, services, facilities, privileges advantages or


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1    accommodations to person with disabilities unless the entity can demonstrate
2    that taking such steps would fundamentally alter the nature of the those goods,
3    services, facilities, privileges advantages or accommodations. See 42 U.S.C. §
4    12182(B)(2)(A)(ii).
5      22. Specifically, with respect to reservations by places of lodging, a
6    defendant must ensure that its reservation system, including reservations
7    made by “any means,” including by third parties, shall:
8                    a. Ensure that individuals with disabilities can make
9                          reservations for accessible guest rooms during the same
10                         hours and in the same manner as individuals who do not
11                         need accessible rooms;
12                   b. Identify and describe accessible features in the hotels and
13                         guest rooms offered through its reservations service in
14                         enough detail to reasonably permit individuals with
15                         disabilities to assess independently whether a given hotel
16                         or guest room meets his or her accessibility needs; and
17                   c. Reserve, upon request, accessible guest rooms or specific
18                         types of guest rooms and ensure that the guest rooms
19                         requested are blocked and removed from all reservations
20                         systems.
21             See 28 C.F.R. § 36.302(e).
22     23. Here, the defendant failed to modify its reservation policies and
23   procedures to ensure that it identified and described accessible features in the
24   hotels and guest rooms in enough detail to reasonably permit individuals with
25   disabilities to assess independently whether a given hotel or guest room meets
26   his or her accessibility needs and failed to ensure that individuals with
27   disabilities can make reservations for accessible guest rooms during the same
28   hours and in the same manner as individuals who do not need accessible


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1    rooms.
2
3    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
4    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
5    Code § 51-53.)
6      24. Plaintiff repleads and incorporates by reference, as if fully set forth
7    again herein, the allegations contained in all prior paragraphs of this
8    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
9    that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13     25. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15     26. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, failing to comply with the ADA with respect to its
17   reservation policies and practices.
18     27. Because the violation of the Unruh Civil Rights Act resulted in difficulty
19   and discomfort for the plaintiff, the defendants are also each responsible for
20   statutory damages, i.e., a civil penalty. See Civ. Code § 52(a).
21
22   PRAYER:
23          Wherefore, Plaintiff prays that this Court award damages and provide
24   relief as follows:
25       1. For injunctive relief, compelling Defendants to comply with the
26   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27   plaintiff is not invoking section 55 of the California Civil Code and is not
28   seeking injunctive relief under the Disabled Persons Act at all.


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1       2. Damages under the Unruh Civil Rights Act, which provides for actual
2    damages and a statutory minimum of $4,000 for each offense.
3       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
4    to 42 U.S.C. § 12205; and Cal. Civ. Code § 52(a).
5
6    Dated: November 30, 2020               CENTER FOR DISABILTY ACCESS
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8
9
10                                          By:
11                                          Russell Handy, Esq.
12
                                            Attorneys for Plaintiff

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